Case 1;18-CV-00173-.]SR Document 1-4 Filed 01/09/18 Page 1 of 8

EXHIBIT D

Case 1:18-CV-00173-.]SR Document 1-4 Filed 01/09/18 Page 2 of 8

SETTLEMENT AGREEMENT

WHEREAS, Oppenheimer & Co. lnc. (“Oppenheimer”) commenced a civil action against
Defendant l)ocuLym<, Inc., as successor-in~interest to Anacomp, Inc. (“DocuLynx”)
(Oppenheimer and DocuLynx shall be referred to herein as the “Parties”) in the United States
District Court for the Southern District of New York, titled, Oppenheimer & Co. I)rc. v. DocuLynx,
Inc., as successor-in-interest to An'acomp, Inc., Case No.: l7-CV~05940 (SHS) (the “Action”); and

WHEREAS, DocuLynx has alleged counterclaims against Oppcnheimer in the Action
(the “Counterclaims” ; and

WHEREAS, DocuLynir denies any and all liability to Oppenheimer under the facts
alleged in the Action; and

WHEREAS, Oppenheimer denies any and all liability to DocuLynx under the facts
alleged in the Counterclaims; and

WHEREAS, the Pmties desire to resolve the Action, including DocuLynx’s
Counterclaims, without the cost and time associated with litigation:

NOW THEREFORE, in consideration of the mutual undertakings hereinafter set forth,
and for other valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties hereby stipulate and agree as follows;

l. The Parties acknowledge that the terms of this Settlement Agreernent shall be set
forth in greater detail in a separate written agreement between the Parties and that the Parties agree
to work in good-faith to execute any additional agreements necessary to affect the terms of this this
Settlernent Agreernent;

2. DocuLynx acknowledges that Oppenheimer has no obligation to make payment to

DocuLynx for any services allegedly provided (either prior to or following the execution of this

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Case 1:18-CV-OOl73-.]SR Document 1-4 Filed 01/09/18 Page 3 of 8

Settlernent Agreement) except as specifically provided for within this Settlement Agreement or in
any subsequent written agreement executed by the Parties;

3. DocuLynx shall continue to provide data storage services to Oppenheimer for data
which was previously imaged by and is currently in .the possession of v DocuLynx (the
“Oppenheirner Data”) for a period of seven (7) years following the execution of the appropriate
agreements (the “Contract Ter.m”);

4. \ Throughout the Contract 'I`enn, Oppenheitncr shall periodically advise DocuLynx
in writing with regard to any Oppenheimer Data that may be deleted Once notified that
Oppenheimer Data may be deleted, DocuLynx may delete the Oppcnheimer Data at its discretion,
but no later than the expiration of the Contract Term;

5. g Oppenheirner shall have no obligation to provide additional data to DocuLynx for
imaging and storage, nor shall DocuLynx have any obligation to accept any additional data from
Oppenheimer for imaging and storage;

6. DocuLynx shall provide Oppenheimer with a perpetual license for no less than 110
users to utilize DoucLynx’s software for the purpose of accessing the Oppenheimer Data during
the Contract Terrn. This license contemplates access for regulatory compliance and the related
ability to download and print reports to ensure compliance It does not contemplate downloading,
copying or printing data en masse; l .

7. DocuLynx acknowledges that the Oppenheimer Data belongs solely to
Oppenheirner and that DocuLynx has no ownership interest in the Oppenheimer ,Data or right to
possess the Oppenheimer Data, other than for the purposes of providing the above described

services to Oppenheimer;

2638206_2

Case 1:18-CV-OOl73-.]SR Document 1-4 Filed 01/09/18 Page 4 of 8

8. Docul,yr)x shall be required to hold tth Oppenheimer Data in escrow with a thirds
party to be agreed upon by the Parties (the “Data Escrow”) during the Contract 'I`erm, which
agreement shall not be unreasonably withheld; l

- 9. DocuLynx shall pay all costs associated with the Data Escrow;

lO. DocuLy.nx acknowledges that, i`n the event that DocuLynx and the escrow agent
shall cease providing services to Oppcnheimer, Oppenheinier shall immediately be entitled to the
return of the Oppenheirner Data from the Data Escrow in the same format as the Oppenheimer
Data was originally provided to DocuLynx, irrespective of any claims by DocuLynx against
Oppenheimer;

ll. DocuLynx acknowledges that any failure on thc part of DocuLynx or the Data
Escrow to provide Oppenheimer with reasonable access to the Oppenheimer Data, for any reason,
shall cause Oppenheimer to incur irreparable harm and that Oppcnheimer shall be entitled to
injunctive relief in order to prevent said irreparable harm;

12. In no event shall Doculynx be responsible or liable for any failure or delay in the
performance of its obligations hereunder arising out of or caused by, directly or indirectly, forces
beyond its control, including, without limitation, strikes, work stoppages, accidents, acts of war or
terrorism, civil or military disturbances, nuclear or natural catastrophes or acts of God, and
interruptions, loss or malfunctions of utilities, communications or computer (sottv_vare and
hardware) serviccs; it being understood that Doculynx shall use reasonable efforts which are
consistent with accepted practices in the industry to resume performance as soon as practicable

under the circumstances

2638206_2

Case 1:18-CV-00173-.]SR Document 1-4 Filed 01/09/18 Page 5 of 8

l3. in exchange for the above described services, Oppenheimer agrees to compensate
DocuLynx in the total sum of ONE MILLION 'I'HREE HUN`DRED EIGHTY SIX THOUSAND
DOLLARS AND ZERO CENTS ($1,386,000.00) (the “Contract Sum”);

14. The Contract Surn shall be paid in seven (7) equal annual installments of ONE
HUNDRED NINETY EIGH'I` THOUSAND DOLLARS AND ZERO CENTS (3198,000.00) (the
“Annual Installments”), with the first Annual installment being due three (3) business days from
Oppenheimer’s receipt of the first Annual Installrnent Bond, as described within Paragraph 14
herein Each subsequent anniversary shall be one (l)‘year from the date of theexecution of the
additional agreement(s) referenced within Paragraph 1 herein;

lS. Prior to being entitled to receive any Annual Installrnent, DocuLynx shall provide
Oppenheimer with written confirmation that DocuLynx’s performance under said Annual
lnstallment has been fully bonded and that should DocuLynx cease providing services to
Oppenheimer for any reason, Oppenheimer shall immediately be entitled to the return of the
prorated unused portion of the respective Annual Installment (the “Annual lnstallment Bond”);

l6. Oppenheimer shall make payment of the ` Annual lnstallment within three (3)
business days of receipt of the respective Annual Payrnent Bond from Doanynx;

17. Should either party commit a material breach of this Settlernent Agreernent, or of
any of the terms of the additional agreements referenced within Paragraph l hcrein, the other party
shall provide written notice of said material breach by Federal Exprcss. Should the breaching party
fail to cure said material breach within ten (10) days of written notice of default, the other party
shall be entitled to recover any fees and costs incurred, including reasonable attorneys’ fees, related
to the successful enforcement of the Settlement Agreement or other agreements referenced within

Paragraph l herein;

2638206__2

Case 1:18-CV-OOl73-.]SR Document 1-4 Filed 01/09/18 Page 6 of 8

18. Upon the execution of this Settlernent Agrcement, the parties shall file a Stipulation
of Discontinuance With Prejudice of the Action, including but not limited to Oppenheimer’s
claims and DocuLynx’s Counterclaims; y

l9. "l`his Settlement Agreement may be amended or modified only in writing signed by
the Parties;

20. v 'l'his Settlement Agreernent shall be construed pursuant to the laws of the State of
New York. Any action brought to enforce the terms of this Settlement Agreement shall be brought
exclusively before the state or federal courts located within the State of New York and the Parties
hereby consent to the jurisdiction of the same;

21. 'l`he making of this Settlement Agreement is not intended, and shall not be
construed, as an admission that any Party has violated any federal, state, or local law (including
common law), ordinance or regulation, or has committed any wrong The Parties hereto
understand and agree that this is a compromise and settlement of disputed claims to avoid further
cxpense and protracted litigation, and that such compromise is not an admission of any liability or
wrongdoing by the Parties;

22. 'I`his~ Settlement Agreernent and the subject matter hereof is confidential and shall
not be disclosed in respect to any person, corporation, or other entity, other than the parties to the
Settlement Agreement, except (a) upon written authority by all Parties to this Scttlement
Agreement; Cb) by order of any court; (c) to the extent required by any state or federal corporate
disclosure or financial report; or (d) to the extent necessary to effectuate and enforce the terms of
this Settlement Agreernent. Nothing herein shall prohibit DocuLynx from disclosing the terms of
the additional agreement referenced within Paragraphl herein, to potential investors, lenders or

purchasers of DocuLynx.

2638205__2

Case 1:18-CV-00173-.]SR Document 1-4 Filed 01/09/18 Page 7 of 8

23. In the event of any sale of DocuLynx or the assets of DocuLynx to a third-party,
DocuLynx agrees that it shall be required to provide a copy of this Settlement Agreernent and any
additional agreements, as provided for within Paragraph 1 herein, to the purchaser and confirm that
the purchaser is capable of performing DocuLynx’s obligations hereunder prior to the close of any
such transacticn;

24. The parties will not make any statements or representations that disparage,
demean, or impugn each other, including without limitation any statements impugning the personal
or professional character of any current or former director, oft`tcer, or employee of either Company,
except as required by law or compelled by subpoena

25 . The waiver by one Party of any provision of this Settlement Agr'eernent shall not be
deemed a waiver of any other provision of this Settlement Agreernent;

26. This Settlernent Agreernent may be executed in counterparts and electronically

27 . IN WITNESS WHEREOF, the undersigned has executed this Agreernent and
Release as of the date indicated hereinabove -

OPP IMER & CO. INC. DOCULYNX, INC. `
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Case 1:18-CV-OOl73-.]SR Document 1-4 Filed 01/09/18 Page 8 of 8

23. In the event ot`any sale of DocuLynx or the assets ofDocuLynx to a third-party,
DocuLynx agrees that it shall be required to provide a copy of this Settlernent Agreement and any
additional agreements as provided for within Paragraph l herein, to the purchaser and confirm that
the purchaser is capable of performing DocuLynx’s obligations hereunder prior to the close of any
such transaction; y
24. The parties will not make any statements or representations that disparage,
demean, or impugn each other, including without limitation any statements impugning the personal
or professional character of any current or fenner director, ofticer, or employee of either Company, 4
except as required by law or compelled by subpoena
25. The waiver by one Party of any provision of this Settlernent Agrcement shall not be
deemed a waiver of any other provision of this Settlement Agreement;
26. This Settlement Agreement may be executed in counterparts and electronically
27. IN WITNESS WHEREOF, the undersigned has executed this Agreement and
Rclease as of the date indicated hereinabove

oPPENHEIMER & co. rNc.' ' DooULYNX, INC.

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Date Date

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